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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                     Plaintiffs,                            4:18CR3075

      vs.
                                                               ORDER
HERBERT B. KINCHEN,

                     Defendants.


      Defendant has moved for a review of the detention order and requests a
hearing. (Filing No. 51). Under 18 U.S.C. § 3142(f) the magistrate judge may
review detention only if “information exists that was not known to the movant at
the time of the hearing and that has a material bearing” on the amelioration of
the risks of nonappearance and safety. Motions for review of detention must
specify the factual basis for the motion, the materiality of the facts to the issues,
and that the information was not known previously. Defendant’s motion does not
include this requisite information.


      Accordingly,


      IT IS ORDERED that Defendant’s motion to review detention, (Filing No.
51), is denied.


      November 19, 2018.
                                               BY THE COURT:

                                               s/ Cheryl R. Zwart
                                               United States Magistrate Judge
